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11:51 AM                                    Mid-Atlantic Systems of WPA Inc.
02/19/20                                                  Profit & Loss
Accrual Basis                                   January through December 2018

                                                                                  Jan - Dec 18
                Ordinary Income/Expense
                     Income
                        41000-0 · PENNSYLVANIA REVENUE
                           41000-1 · PA SALES REVENUE                                       874,643.36
                           41003-1 · WARRANTY/PUMP RENEWAL PA                                   223.00
                           41002-1 · SERVICE INCOME PA                                          258.00
                           41000-0 · PENNSYLVANIA REVENUE - Other                               129.00

                       Total 41000-0 · PENNSYLVANIA REVENUE                                           875,253.36

                       41012-0 · OHIO REVENUE                                                          36,194.00
                       41013-1 · WEST VA REVENUES                                                      11,966.00
                       42000-1 · DISCOUNTS- REIMB PA
                         PA DISCOUNT ALLOW                                                   -4,026.32
                         42000-1 · DISCOUNTS- REIMB PA - Other                                  225.00

                       Total 42000-1 · DISCOUNTS- REIMB PA                                             -3,801.32

                       42000-3 · DISCOUNTS REIMB OHIO
                         OHIO DISCOUNTS                                                             4.66

                       Total 42000-3 · DISCOUNTS REIMB OHIO                                                   4.66

                       42000-2 · DISCOUNTS-REIMB WEST VA
                         WEST VA DISCOUNTS                                                        -620.00

                       Total 42000-2 · DISCOUNTS-REIMB WEST VA                                              -620.00

                     Total Income                                                                     918,996.70

                     Cost of Goods Sold
                       50001 · Cost of Goods Sold
                          53900-1 · Finance Fees                                             74,541.18
                          53900-2 · Credit Card Fees                                          1,779.87

                       Total 50001 · Cost of Goods Sold                                                76,321.05

                       51000-1 · COMMISSIONS                                                           89,111.35

                       53000-1 · SUBS INSTALLATION                                                    181,036.92
                       53900-0 · SERVICE/INSTALLATION COSTS
                         53901-0 · SERVICE/SUBS LODGING EXPENSE                               1,844.05
                         53999-9 · DIRECT BUILDING SUPPLIES
                            54552-0 · DYNA PEIR SEGMENTS                             3,148.40
                            53980-0 · SHIPPING EXPENSE                               3,722.19
                            53982-0 · USE TAX EXPENSE                                2,554.06
                            54000-0 · MATERIALS/SUPPLIES MISC                       12,366.65
                            54100 · BATTERIES
                               54100-1 · BOXES, BATTERY BOXES                     0.00
                               54100 · BATTERIES - Other                        145.00

                             Total 54100 · BATTERIES                                     145.00

                             54111-0 · SAFETY TOOLS AND EQUIPMENT                        300.00

                             54112 · INVERTERS 120%MIDA POWER                            278.00

                             54200 · PITS                                            3,514.79

                             54300-0 · CK VALVES 8                                     -23.96
                             54400-0 · PUMPS                                        30,847.34

                             54555 · FIBER REIN MEMBRANE
                               54555-1 · TAPE; FIBER REINF MEMBRANE               0.00
                               54555 · FIBER REIN MEMBRANE - Other                0.00

                             Total 54555 · FIBER REIN MEMBRANE                             0.00

                             54556 · COVE PLATE                                          220.00

                             54711-1 · MIDA AIRE                                         356.89

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02/19/20                                         Profit & Loss
Accrual Basis                          January through December 2018

                                                                           Jan - Dec 18
                     54711-2 · DISPENSERS FOR MIDA AIRE                          307.49
                     54711-3 · FIBERFORCE/epoxy                                4,759.00

                     54711-5 · WALL= MIDA WALL
                       54711-6 · JOINERS END CAPS FASTENERS                0.00
                       54711-5 · WALL= MIDA WALL - Other                 398.68

                     Total 54711-5 · WALL= MIDA WALL                               398.68

                     54750 · CONVECTION PORTS
                       54750-1 · WEEPING PORTS                           705.00
                       54750 · CONVECTION PORTS - Other                  576.00

                     Total 54750 · CONVECTION PORTS                            1,281.00

                     54802-1 · TRAC HYDRO
                       54802-4 · INSIDE CORNERS                           826.64
                       54802-1 · TRAC HYDRO - Other                    10,002.16

                     Total 54802-1 · TRAC HYDRO                               10,828.80

                   Total 53999-9 · DIRECT BUILDING SUPPLIES                            75,004.33

                   55650-0 · TOTAL PERMIT FEES
                     55650-1 · PERMITS                                         1,040.75

                   Total 55650-0 · TOTAL PERMIT FEES                                    1,040.75

                   55000-1 · OTHER SERVICE COSTS
                     55351-1 · FOOD                                               37.27
                     55401-1 · GPS MONITORING                                    341.00
                     55150-1 · TOOL REPAIR                                       165.14
                     55200-1 · DUMP                                            2,201.87
                     55250-1 · ENGINEER CONSULTING                             3,300.00
                     55300-1 · GAS/DIESEL/WASH/MILEAGE                        10,703.30
                     55350-1 · TOLLS PARKING                                   3,101.93
                     55400-1 · TRUCK MAINTENANCE                               2,077.35
                     55450-1 · UNIFORMS-PRODUCTION CLOTHING                      803.62
                     55500-1 · BIG TOOLS                                         358.22
                     55501-1 · SMALL TOOLS                                        44.44
                     55600-1 · EQUIPMENT RENTAL                                1,466.43
                     55650-4 · VEHICLE EXPENSE                                 3,044.62
                     55675-1 · LEASE EXPENSE VEHICLES                          6,557.52

                   Total 55000-1 · OTHER SERVICE COSTS                                 34,202.71

                   56000-1 · PRODUCTION PERSONNEL
                     56150-1 · QUALITY CONTROL MANAGER                        16,697.42
                     56250-1 · PRODUCTION MANAGER                             41,182.38
                     56500-1 · PRODUCTION SECRETARY                            3,442.75

                   Total 56000-1 · PRODUCTION PERSONNEL                                61,322.55

                   57000-1 · SERVICE FIELD PERSONNEL
                     57100-1 · SERVICE TECHNICIANS                            40,564.41

                   Total 57000-1 · SERVICE FIELD PERSONNEL                             40,564.41

                 Total 53900-0 · SERVICE/INSTALLATION COSTS                                  213,978.80

                 58000-1 · ADVERTISING
                   58100 · PERSONNEL
                      58200-1 · BOOKERS                                        3,406.40

                   Total 58100 · PERSONNEL                                              3,406.40

                   59250-1 · MEDIA-WPA
                     59540-9 · PAID LEAD MIDA CALL CENTER                        950.00
                     59320-1 · ADV.WEB SITE                                   18,054.94
                     59330-1 · ADV.MISCELLANEOUS                               1,776.04
                     59500-1 · TELEPHONE- ADVERT.                              4,095.79
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11:51 AM                                 Mid-Atlantic Systems of WPA Inc.
02/19/20                                              Profit & Loss
Accrual Basis                                  January through December 2018

                                                                                  Jan - Dec 18
                           59540-1 · PAIDLEADS                                       17,716.63
                           59550-1 · DO NOT CALL LIST                                   289.00

                        Total 59250-1 · MEDIA-WPA                                             42,882.40

                        59340-1 · *HOMESHOWS
                          53333-3 · HS PRINTING                                           292.83
                          59341-0 · HS FEES
                             49341-6 · HS BOOTHS/TENTS/DISPLAYS/BANNER           104.26
                             59341-0 · HS FEES - Other                         9,390.00

                           Total 59341-0 · HS FEES                                    9,494.26

                           59350-2 · HS GIVEAWAYS                                        11.02
                           59359-2 · HS TRAVEL COSTS                                  3,853.81
                           59359-4 · HS LODGING                                         520.66
                           59359-6 · HS MISC ITEMS NEEDED                                20.00
                           59360-1 · HS EMPLOYEES                                     8,905.78
                           59360-2 · HS EVENTS COORDINATOR                           43,616.12

                        Total 59340-1 · *HOMESHOWS                                            66,714.48

                     Total 58000-1 · ADVERTISING                                                      113,003.28

                  Total COGS                                                                          673,451.40

                Gross Profit                                                                          245,545.30

                  Expense
                    604000 · BANK SERVICE CHARGES                                                          18.00
                    61001-1 · OFFICE SUPPLY / MISC EXP                                                  1,053.18

                     61070-1 · POSTAGE
                       61080-1 · UPS FED EX OVERNIGHT MAIL                                     2,178.26
                       61070-1 · POSTAGE - Other                                                  64.70

                     Total 61070-1 · POSTAGE                                                            2,242.96

                     61100-1 · BANK CHARGES                                                             5,011.73
                     61500-1 · CLASSIFIED ADS
                       61520-1 · CLASSIFIED-SALES                                                  517.47
                       61530-1 · CLASSIFIED-SERVICE                                                260.00
                       61500-1 · CLASSIFIED ADS - Other                                            420.26

                     Total 61500-1 · CLASSIFIED ADS                                                     1,197.73

                     61700-1 · PRINTING                                                                 3,784.01
                     62300-1 · OFFICE RENT                                                             22,668.00

                     62500-1 · TELEPHONE                                                               10,901.96
                     62501-0 · INTERNET                                                                 1,286.12
                     62600-4 · UTILITIES                                                                5,863.04
                     63110-1 · COMPUTER SUPPLY/SOFTWARE                                                 1,775.44
                     63600-1 · COPIER LEASE AND SUPPLY                                                  8,851.67
                     63700-1 · OFFICE EQUIPMENT                                                            39.99
                     64050-1 · SALES EXPENSE
                       64070-1 · AWARDS                                                        1,322.24
                       64050-1 · SALES EXPENSE - Other                                           276.30

                     Total 64050-1 · SALES EXPENSE                                                      1,598.54

                     64080-0 · TRAININGS-SEMINARS
                       64080-1 · SALES TRAININGS                                               1,124.00
                       64080-2 · SALES MEETINGS                                                   22.53
                       64080-3 · TRAINING LODGING                                              3,763.86
                       64080-4 · OTHER TRAININGS                                                 480.47

                     Total 64080-0 · TRAININGS-SEMINARS                                                 5,390.86

                     64200-1 · INTEREST EXPENSE                                                         4,106.59
                     64250-1 · LICENSES & FEES
                                                                                                                     Page 3

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02/19/20                                                 Profit & Loss
Accrual Basis                                   January through December 2018

                                                                                Jan - Dec 18
                          64251-1 · MEMBERSHIP DUES                                         675.00
                          64251-2 · CREDIT BUREAU                                           642.00
                          64250-1 · LICENSES & FEES - Other                               1,860.34

                       Total 64250-1 · LICENSES & FEES                                           3,177.34

                       64260-1 · LEGAL FEES                                                     41,301.67
                       64290-1 · PROFESSIONAL FEES                                               6,992.44
                       64310-4 · WORKMANS COMP                                                  -2,364.94
                       64320-1 · AUTO/TRUCK INS.                                                 6,773.39
                       64330-1 · LIABILITY/BLDG                                                 32,326.71
                       649000 · OFFICE SUPPLIES                                                     26.26
                       67540-1 · OFFICE MAINTENANCE                                                408.26
                       68000 · PAYROLL EXPENSES
                         68100 · SALARIES & WAGES
                            67100-1 · GENERAL MANAGER                             10,321.09
                            67100-4 · NATIONAL MANAGER                            11,666.08
                            68100-3 · CLERICAL                                     5,308.95

                          Total 68100 · SALARIES & WAGES                                 27,296.12

                          68200 · PAYROLL TAXES
                            68200-1 · FICA/MEDICARE EXPENSE                       12,024.02
                            68200-2 · FUTA EXPENSE                                   458.94
                            68200-3 · SUI EXPENSE                                  6,710.94

                          Total 68200 · PAYROLL TAXES                                    19,193.90

                          69000-0 · EMPLOYEE BENEFITS
                            69100-1 · INS-MEDICAL EXPENSE                         17,760.10
                            69100-2 · INS-LIFE EXPENSE                               152.10
                            69400-2 · 401K ADMINISTRATION FEES                       300.00

                          Total 69000-0 · EMPLOYEE BENEFITS                              18,212.20

                          69500-0 · EMPLOYMENT EXPENSES
                            69500-1 · BACKGROUND CHECKS                            1,039.89
                            69500-2 · SUBSTANCE TESTS                                184.74

                          Total 69500-0 · EMPLOYMENT EXPENSES                             1,224.63

                          68010 · PAYROLL SERVICES                                        3,875.19
                          68000 · PAYROLL EXPENSES - Other                                    0.00

                       Total 68000 · PAYROLL EXPENSES                                           69,802.04

                       70000 · OTHER TAXES                                                       5,921.70
                       68720-4 · LODGING                                                         9,695.73
                       68730-1 · TRAVEL
                         68730-2 · TRAVEL FOOD                                              550.15
                         68730-1 · TRAVEL - Other                                         6,466.20

                       Total 68730-1 · TRAVEL                                                    7,016.35

                       69800 · DEPRECIATION EXPENSE
                         69800-1 · DEPRECIATION EXPENSE VEHICLES                            576.00
                         69800-3 · DEPRECIATION EXPENSE EQUIPMENT                           324.45
                         69800-4 · DEPRECIATION EXPENSE FURNITURE                         1,175.64

                       Total 69800 · DEPRECIATION EXPENSE                                        2,076.09

                       69999-1 · MGMT FEES NHA                                                  17,285.42
                       69999-2 · MGMT FEES GLOBAL                                               25,928.14

                     Total Expense                                                             302,156.42

                Net Ordinary Income                                                            -56,611.12

                Other Income/Expense
                  Other Income
                     87000 · DEBT FORGIVNESS                                                     3,872.85
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02/19/20                                             Profit & Loss
Accrual Basis                                  January through December 2018

                                                                               Jan - Dec 18
                     70100 · Other Income                                                      5,522.18

                  Total Other Income                                                           9,395.03

                  Other Expense
                    90000 · PENALTIES/ NOT TAXABLE                                               762.92

                  Total Other Expense                                                            762.92

                Net Other Income                                                               8,632.11

            Net Income                                                                        -47,979.01




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11:52 AM                                 Mid-Atlantic Systems of WPA Inc.
02/19/20                                              Balance Sheet
Accrual Basis                                       As of December 31, 2018

                                                                                Dec 31, 18
                ASSETS
                  Current Assets
                    Checking/Savings
                       10100 · CASH IN BANK
                          10100-1 · PNC CHECKING #9139                                  5,807.78

                       Total 10100 · CASH IN BANK                                                 5,807.78

                       10900 · PETTY CASH                                                             950.00

                    Total Checking/Savings                                                        6,757.78

                    Other Current Assets
                      17000-0 · NOTES RECEIVABLE OTHER CORPS
                         17000-9 · NOTES RECEIVABLE CHESAPEAKE                          3,428.00

                       Total 17000-0 · NOTES RECEIVABLE OTHER CORPS                               3,428.00

                       11000 · ACCOUNTS RECEIVABLE                                               14,792.94
                       14000-0 · DUE TO-FROM ALL CORPS
                         14010-0 · TOTAL DUE TO-FROM NHA
                            DUE TO NHA                                          -8,455.32

                         Total 14010-0 · TOTAL DUE TO-FROM NHA                         -8,455.32

                         14011-0 · TOTAL DUE TO-FROM GLOBAL
                           DUE TO GLOBAL                                          -338.58

                         Total 14011-0 · TOTAL DUE TO-FROM GLOBAL                           -338.58

                         14000-1 · TOTAL DUE TO- FROM MD
                           DUE TO MD                                            3,192.15

                         Total 14000-1 · TOTAL DUE TO- FROM MD                          3,192.15

                         14000-2 · TOTAL DUE TO-FROM NJ
                           DUE TO NJ                                           -12,067.90
                           DUE FROM NJ                                           1,391.08

                         Total 14000-2 · TOTAL DUE TO-FROM NJ                         -10,676.82

                         14000-3 · TOTAL DUE TO-FROM DPN
                           DUE TO DPN                                          -16,598.17
                           DUE FROM DPN                                         16,745.28

                         Total 14000-3 · TOTAL DUE TO-FROM DPN                              147.11

                         14000-4 · TOTAL DUE TO-FROM CPA
                           DUE TO CPA                                         -286,958.59
                           DUE FROM CPA                                        194,236.69

                         Total 14000-4 · TOTAL DUE TO-FROM CPA                        -92,721.90

                         14000-5 · TOTAL DUE TO-FROM VA
                           DUE TO VA                                           -11,307.07
                           DUE FROM VA                                           7,360.00

                         Total 14000-5 · TOTAL DUE TO-FROM VA                          -3,947.07

                         14000-8 · TOTAL DUE TO-FROM OC MIDA BASE
                           DUE FROM OC MIDA BASEMENT                            2,402.00

                         Total 14000-8 · TOTAL DUE TO-FROM OC MIDA BASE                 2,402.00

                         14000-9 · TOTAL DUE TO-FROM CHESAPEAKE
                           DUE TO CHESAPEAKE                                      -203.00

                         Total 14000-9 · TOTAL DUE TO-FROM CHESAPEAKE                       -203.00

                         14012-0 · TOTAL DUE TO-FROM CALL CENTER
                           DUE FROM MIDA CALL CENTER                           31,150.00


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02/19/20                                            Balance Sheet
Accrual Basis                                     As of December 31, 2018

                                                                                Dec 31, 18
                          Total 14012-0 · TOTAL DUE TO-FROM CALL CENTER               31,150.00

                       Total 14000-0 · DUE TO-FROM ALL CORPS                                 -79,451.43

                       19999 · INVENTORY                                                      9,404.33

                    Total Other Current Assets                                               -51,826.16

                  Total Current Assets                                                       -45,068.38

                  Fixed Assets
                     15000 · FIXED ASSETS
                       15000-2 · FURNITURE & FIXTURES                                 13,172.63
                       15100-1 · MACHINERY & EQUIPMENT                                26,771.80

                    Total 15000 · FIXED ASSETS                                               39,944.43

                    16000 · LESS ACCUM DEPREC DEPRECIATION
                      16000-1 · ACCUM DEPREC FURN/FIX                                -11,879.44
                      16200-1 · ACCUM DEPREC VEHICLES                                 -4,776.00
                      16400-1 · ACCUM DEPREC EQUIPMENT                               -25,365.08

                    Total 16000 · LESS ACCUM DEPREC DEPRECIATION                             -42,020.52

                  Total Fixed Assets                                                          -2,076.09

                  Other Assets
                    19010-0 · SECURITY DEPOSITS
                       19020-1 · ELECTRICAL DEPOSIT                                      115.32
                       19030-1 · OFFICE RENT SECURITY DEPOSITS                         1,138.90

                    Total 19010-0 · SECURITY DEPOSITS                                         1,254.22

                  Total Other Assets                                                          1,254.22

                TOTAL ASSETS                                                                 -45,890.25

                LIABILITIES & EQUITY
                   Liabilities
                      Current Liabilities
                         Accounts Payable
                             20100 · ACCOUNTS PAYABLE                                        25,921.87
                             27000 · PAYROLL EXPENSE PAYABLE                                   -635.78

                       Total Accounts Payable                                                25,286.09

                       Credit Cards
                         10400-0 · M&T VISA                                                   9,858.39

                       Total Credit Cards                                                     9,858.39

                       Other Current Liabilities
                         21111-1 · PA NON RESIDENT SUB/VENDOR WH                                  0.01
                         20500-1 · MANAGEMENT FEES DUE TO NHA                                11,824.15
                         20500-2 · MANAGEMENT FEES DUE TO GLOBAL                             19,338.96
                         20400 · CUSTOMER DEPOSITS
                            REFUND DEP PA 7/8/14                                     -91,035.14
                            REFUND DEP OHIO 7/8/14                                   -19,146.73
                            REF DEP WEST VA 7/8/14                                    -3,701.00
                            20400 · CUSTOMER DEPOSITS - Other                        114,555.27

                          Total 20400 · CUSTOMER DEPOSITS                                         672.40

                          20500 · BANK OVERDRAFT                                             20,954.12
                          21000 · PAYROLL LIABILITIES
                            21140 · PA W/H                                              -744.43
                            21140-4 · LOCAL-PA EIT                                       119.88
                            21140-5 · LOCAL-PA LST                                       196.40
                            21300 · SUPPLEMENTAL BENEFITS                                297.96
                            21310 · INS-MEDICAL LIABILITY                             15,855.48
                            21400 · 401K EE CONTRIBUTIONS                              1,025.72

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02/19/20                                                    Balance Sheet
Accrual Basis                                             As of December 31, 2018

                                                                                    Dec 31, 18
                              21410 · 401K ER MATCHING CONTRIBUTION                          488.25
                              21450 · 401K LOANS RECEIVABLE                                   21.01
                              21500 · GARNISHMENTS                                           916.69
                              21000 · PAYROLL LIABILITIES - Other                             -7.81

                           Total 21000 · PAYROLL LIABILITIES                                        18,169.15

                           23440-0 · CORP INCOME TAXES PAYABLE
                             23440-2 · PA CORP INCOME TAXES PAYABLE                       -2,289.00

                           Total 23440-0 · CORP INCOME TAXES PAYABLE                                 -2,289.00

                           24100-0 · NOTES DUE TO OTHER CORPORATIONS
                             24000-1 · NOTE PAYABLE TO MD                                272,081.88
                             24000-5 · NOTE PAYABLE TO VA                                 36,090.65
                             24000-3 · NOTE PAYABLE TO DPN                               169,790.21
                             24000-4 · NOTE PAYABLE TO CPA                               456,232.33

                           Total 24100-0 · NOTES DUE TO OTHER CORPORATIONS                         934,195.07

                           24300 · NOTE PAYABLE SHAREHOLDER                                         23,100.00
                           26000 · ACCRUED EXPENSES
                             26000-2 · ACCRUED LEGAL SETTLEMENTS                          30,000.00

                           Total 26000 · ACCRUED EXPENSES                                           30,000.00

                        Total Other Current Liabilities                                          1,055,964.86

                     Total Current Liabilities                                                   1,091,109.34

                  Total Liabilities                                                              1,091,109.34

                  Equity
                    39000 · RETAINED EARNINGS                                                    -1,089,020.58
                    Net Income                                                                      -47,979.01

                  Total Equity                                                                   -1,136,999.59

                TOTAL LIABILITIES & EQUITY                                                         -45,890.25




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